        Case: 2:22-cv-00098-MHW-KAJ Doc #: 7 Filed: 02/07/22 Page: 1 of 1 PAGEID #: 45


AO 399 (01/09) Waiver of the Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                            Southern District of Ohio

                          United States                                        )
                               Plaintiff                                       )
                                  V.                                           )    Civi l Action No. 2:22-cv-00098-M HW-KAJ
                    Howard D. Travis et al.                                    )
                              Defendanl                                        )

                                              WAIVER OF THE SERVICE OF SUMMONS

To:     Anderson P . Heston
              (Name of!he plai111i.fl's allorney or unrepresented plain/if/)


        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one s igned copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, wi ll keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 w ithin
60 days from                01/19/2022            , the date when this request was sent (or 90 days ifit was sent outside the
United States). If I fail to do so, a default judgment w ill be entered against me or the e ntity I represent.


Date:   L::.;!£--a?0,22                                                             -~   ~ $ (#CrXZoS-'!)
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                                                                                                              Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fa ils to return a s igned waiver of service requested by a plaintifT located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          ··Good cause'' does 1101 include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

        If the waiver is s igned and returned, you can still make these and a ll other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, the n you must, within the time specified o n the waiver form, serve an answer or a motion under Ruic 12 on the plaintifT
and file a copy with the court. By signing and returning the waiver form , you are allowed more time to respond than ifa summons had been served.
